         Case 1:23-cr-00229-CJN Document 84 Filed 09/19/24 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 23-cr-229 (CJN)
                                            :
TAYLOR FRANKLIN TARANTO,                    :
                                            :
                      Defendant.            :


                          MOTION TO DISMISS COUNT SEVEN

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully moves, under Rule 48(a) of the Federal Rules of Criminal Procedure, to

dismiss Count Seven (18 U.S.C. §§ 1512(c)(2) and 2) of the Superseding Indictment without

prejudice. The government is moving to dismiss Count Seven in the interest of justice.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            D.C. Bar No. 481052


                                     By:    /s/ Carlos A. Valdivia
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